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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                   DELTA DIVISION

DOES, J.M. AND N.M., on behalf of C.F.                                                PLAINTIFFS

v.                                 Case No. 2:21-cv-00075-BSM

PALESTINE-WHEATLEY SCHOOL DISTRICT                                                   DEFENDANT


                                  JOINT RULE 26(f) REPORT

       Counsel for Plaintiffs and Defendant held a Rule 26(f) Conference on September 29, 2021.

For their joint report under Fed. R. Civ. P. 26(f), the parties state as follows:

       1.       The parties do not propose any changes to the timing, form, or requirements of

mandatory disclosures under Fed. R. Civ. P. 26(a).

       2.       The parties will make mandatory disclosures on or before October 26, 2021.

       3.       The parties agree that discovery may be needed on the following subjects: liability,

causation, defenses, damages, and any other issues related to the claims in this case.

       4.       The parties may request the disclosure or production of information from electronic

or computer-based media. As such, the parties further state:

               (a) It is anticipated that the sought disclosures will be data reasonably available to

                   Plaintiff and Defendants

               (b) The parties are unable to determine if such production will be required at this

                   time, but if such production becomes necessary, and is beyond what is

                   reasonably available to the parties in the ordinary course of business, the parties

                   will timely inform the Court.
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               (c)           Information that is stored electronically will be provided in the format in

                             which it is ordinarily kept.

              (d)            The parties specifically request that all potentially discoverable data be

                             preserved from alteration or destruction in the ordinary course of business

                             or otherwise.     Defendant Pulaski County Special School District is

                             unaware if any potentially discoverable data has been altered or destroyed

                             in the ordinary course of business at this time.

               (e)           Presently, the parties do not anticipate any problems which may arise in

                             connection with electronic or computer-based discovery.

        5.           The parties agree with the proposed discovery completion date of September 28,

2022.

        6.           The parties do not, at this time, anticipate needed changes in the limitations imposed

by the Federal Rules of Civil Procedure.

        7.           The parties believe that a protective order will be required in this case. The parties

will attempt to negotiate an agreed protective order for submission to the Court.

        8.           The parties have no objections to initial disclosures.

        9.           The parties have no objections to the proposed trial date of February 21, 2023.

        10.          The parties agree with proposed date of August 29, 2022, for the addition of other

parties and amendments to the pleadings.

        11.          The parties agree with the proposed discovery deadline of September 28, 2022.

        12.          The parties agree with the proposed dispositive motion deadline of October 24,

2022.

        13.          This is not a class action.


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